       23-03004-cgb Doc#139-6 Filed 05/28/25 Entered 05/28/25 18:09:38 Exhibit 6. Order
                            Granting Motion to Employ Pg 1 of 2
EXHIBIT 6 - ORDER GRANTING MOTION TO EMPLOY
WEYCER KAPLAN (DKT. 47)




     The relief described hereinbelow is SO ORDERED.



     Signed April 16, 2021.

                                                          __________________________________
                                                                 H. CHRISTOPHER MOTT
                                                          UNITED STATES BANKRUPTCY JUDGE
     ________________________________________________________________



                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION


       IN RE:                                       §
                                                    §
       PDG PRESTIGE, INC.,                          §                 Case No. 21-30107
                                                    §
       Debtor.                                      §
                                                    §

               ORDER GRANTING MOTION TO EMPLOY WEYCER, KAPLAN,
               PULASKI & ZUBER, P.C. AS ATTORNEYS FOR THE DEBTOR
               (RE: DOCKET NO. 16)

             On this day came on for consideration the Motion to Employ Weycer, Kaplan, Pulaski &
      Zuber, P.C. (Docket No. 16) (the “Motion to Employ WKPZ”) of PDG Prestige, Inc., debtor and
      debtor in possession (“PDG-P” or the “Debtor”), filed on March 17, 2021 in the above-styled
      and numbered case(s), seeking approval of the employment of the firm of Weycer, Kaplan,
      Pulaski, & Zuber, P.C. (“WKPZ”) as its counsel as more particularly set forth in the Motion to
      Employ WKPZ and Declaration on file in this case. The Court finds that the Motion to Employ
      WKPZ contained the appropriate notice and was served upon the parties contained within the
      Master Service List of the Debtor. No objections to the Motion to Employ WKPZ were filed.
      Upon review of the Motion to Employ WKPZ, it appears to the Court that the proposed
      professional is “disinterested” as that term is defined in Code §101(14) and that the proposed
      professional represents or holds no interest adverse to the Debtor.




      ORDER GRANTING MOTION TO EMPLOY WEYCER, KAPLAN, PULASKI & ZUBER, P.C. AS
      ATTORNEYS FOR THE DEBTOR (RE: DOCKET NO. 16) — Page 1
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                      Granting Motion to Employ Pg 2 of 2




        IT IS THEREFORE ORDERED that the Motion to Employ WKPZ is GRANTED and
that the Debtor are authorized to employ WKPZ as attorneys to the Debtor and the related
Chapter 11 estates pursuant to 11 U.S.C. § 327(a), nunc pro tunc and effective as of February 15,
2021, with all fees payable with such compensation as may be awarded by the Court upon proper
motion or application.

                                              ###




Order submitted by:

WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
By: /s/ Jeff Carruth
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PROPOSED ATTORNEYS FOR
PDG PRESTIGE, INC.
DEBTOR AND DEBTOR IN POSSESSION




ORDER GRANTING MOTION TO EMPLOY WEYCER, KAPLAN, PULASKI & ZUBER, P.C. AS
ATTORNEYS FOR THE DEBTOR (RE: DOCKET NO. 16) — Page 2
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